Case 1:24-cv-02195-TWP-KMB                  Document 25       Filed 05/23/25   Page 1 of 6 PageID #:
                                                  162



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 LACIE EDON,                                              )
                                                          )
                               Plaintiff,                 )
                                                          )
                          v.                              )       No. 1:24-cv-02195-TWP-KMB
                                                          )
 PNC BANK, IN ITS OWN CAPACITY AND AS                     )
 SUCCESSOR TO NATIONAL CITY BANK,                         )
                                                          )
                               Defendant.                 )

                     ORDER DENYING MOTION TO STAY DISCOVERY

        Presently pending before the Court is Defendant PNC Bank's Motion to Stay Discovery.

 [Dkt. 16.] Plaintiff Lacie Edon opposes PNC's motion. [Dkt. 17.] Having reviewed the Parties'

 briefing on the issue, the Court finds that PNC's Motion to Stay Discovery should be DENIED for

 the reasons stated herein.

                                I.      RELEVANT BACKGROUND

        Ms. Edon's Complaint alleges that as a minor child, she received serious injuries in an

 automobile accident. [Dkt. 1-2 at 1.] She alleges that a lawsuit related to that accident was filed

 in state court, which ultimately settled and settlement proceeds meant for her benefit were

 deposited with PNC Bank. [Id. at 2.] Ms. Edon further alleges that PNC failed to deposit those

 funds into a restricted account and that they are no longer available for her. [Id. at 2-3.]

        Ms. Edon filed this lawsuit against PNC in state court, and PNC removed it to federal court

 in December 2024. [Dkt. 1.] In response to Ms. Edon's Complaint, PNC has filed a merits-based

 Motion to Dismiss under Federal Rule of Civil Procedure 12(b)(6), arguing that Ms. Edon's claims

 are preempted by the Uniform Commercial Code ("UCC") or otherwise fail as a matter of law.

 [Dkt. 7.] Ms. Edon opposes PNC's Motion to Dismiss. [Dkt. 10.]
Case 1:24-cv-02195-TWP-KMB                Document 25     Filed 05/23/25       Page 2 of 6 PageID #:
                                                163



        The Court scheduled an Initial Pretrial Conference in this matter for May 12, 2025. [Dkt.

 15.] In advance of that conference, the Parties filed a proposed case management plan for the

 Court to review. [Id.] PNC also filed a Motion to Stay Discovery. [Dkt. 16.] The Court held the

 Initial Pretrial Conference as scheduled and adopted a Case Management Plan that, among other

 things, includes dates for various types of discovery. [Dkt. 23.] The Court indicated to counsel at

 the conference that it was unlikely to grant PNC's request to stay discovery but that it would take

 PNC's pending motion under advisement and rule on it in due course.

                                    II.      LEGAL STANDARD

        "Courts disfavor stays of discovery 'because they bring resolution of the dispute to a

 standstill.'" DDML Holdings LLC v. Hennessy, 2024 WL 3400230, at *1 (S.D. Ind. 2024),

 reconsideration denied, 2024 WL 3718146 (S.D. Ind. 2024) (quoting Red Barn Motors, Inc. v. Cox

 Enterprises, Inc., 2016 WL 1731328, at *3 (S.D. Ind. 2016)). District courts have "extremely

 broad discretion in controlling discovery." Jones v. City of Elkhart, Ind., 737 F.3d 1107, 1115 (7th

 Cir. 2013). A stay of discovery may be ordered when good cause exists, and the party seeking the

 stay "bears the burden of proof to show that the Court should exercise its discretion in staying the

 case." United States ex rel. Robinson v. Ind. Univ. Health, Inc., 2015 WL 3961221, at *1 (S.D.

 Ind. 2015). A court will evaluate three factors to determine if good cause for a stay exists: (1) "the

 prejudice or tactical disadvantage to the non-moving party;" (2) "whether or not issues will be

 simplified;" and (3) "whether or not a stay will reduce the burden of litigation." Johnson v. Navient

 Solutions, Inc., 150 F. Supp. 3d 1005, 1007 (S.D. Ind. 2015).

        "Filing a motion to dismiss does not automatically stay discovery," and as a general matter,

 "a stay of discovery is warranted only when a party raises a potentially dispositive threshold issue

 such [as] standing, jurisdiction, or qualified immunity." Red Barn Motors, 2016 WL 1731328, at



                                                   2
Case 1:24-cv-02195-TWP-KMB             Document 25        Filed 05/23/25       Page 3 of 6 PageID #:
                                             164



 *2-3. The Court does not routinely stay discovery simply because a defendant has filed a motion

 to dismiss, and moving to dismiss a case does not automatically relieve the parties of their

 obligation to comply with case management deadlines. See, e.g., Gookins v. County Materials

 Corp., 2019 WL 3282088 at *1 (S.D. Ind. 2019) (concluding that it is not appropriate "for all

 discovery to grind to a halt" until after the motion to dismiss is ruled upon because the defendants

 "have not met their burden of persuading the Court that the chance of their motion to dismiss being

 granted in its entirety outweighs the interest in moving this matter forward").

                                       III.    DISCUSSION

        In their Motion to Stay Discovery, PNC argues that the Court should grant a stay because

 it will allegedly streamline discovery and reduce the burden of litigation if the Parties can wait

 until the Court "simplifies" the claims at issue by ruling on PNC's Motion to Dismiss. [Dkt. 16 at

 4.] PNC contends that such a stay will not prejudice or disadvantage Ms. Edon because such a

 "brief" stay during the "infancy" of discovery could not prejudice a party who "delayed in bringing

 a lawsuit . . . nearly twenty (20) years." [Id. at 4-5.] PNC admits that a stay of discovery is only

 warranted when the dispositive motion raises a "threshold issue," [id. at 3], which its merits-based

 Motion to Dismiss does not. Rather, PNC emphasizes that even with such limited parameters,

 district courts within the Seventh Circuit grant stays "with substantial frequency." [Id.]

        In response, Ms. Edon argues that this Court does not typically grant a stay of discovery

 "simply because a dispositive motion is pending." [Dkt. 17 at 1.] Ms. Edon claims that PNC has

 not raised "potentially dispositive threshold issues" since PNC "merely argue[s] that Plaintiff

 cannot recover," not that Ms. Edon lacks the standing to sue. [Id. at 2.] Ms. Edon further notes

 that after PNC filed its Motion to Dismiss, the Parties agreed to a proposed discovery schedule

 that they submitted to the Court prior to PNC's Motion to Stay. [Id. at 3.]



                                                  3
Case 1:24-cv-02195-TWP-KMB             Document 25        Filed 05/23/25      Page 4 of 6 PageID #:
                                             165



         In reply, PNC reiterates that a "[m]ere delay" in discovery would not unduly prejudice Ms.

 Edon and instead would benefit both Parties since it would narrow the scope of discovery,

 "minimize attorney fees, and . . . prevent fishing expeditions." [Dkt. 18 at 2.] PNC additionally

 contends that its Motion to Dismiss does in fact challenge Ms. Edon's "standing to assert claims."

 [Id. at 4.] Specifically, PNC argues that the dispute falls under the UCC, which it contends does

 not entitle Ms. Edon to bring claims against PNC in this case. [Id.] Thus, PNC claims that its

 Motion to Dismiss is more than "a mere challenge to the specificity of [Ms. Edon's] pleading."

 [Id.]

         After reviewing the pending motion and being duly advised, the Court concludes that PNC

 has not met its burden to show good cause that this is a case where a discovery stay is appropriate.

 PNC's merits-based Motion to Dismiss does not raise threshold issues of the nature that typically

 warrant a discovery stay, such as "standing, jurisdiction, or qualified immunity." Red Barn Motors,

 2016 WL 1731328, at *2-3. PNC's attempt in its reply brief to shoehorn its merits-based UCC

 argument into a standing challenge is unconvincing because PNC's argument is really that it does

 not believe Ms. Edon can recover on the merits of her claims, not that she does not have standing

 to bring the claims.

         The Court concludes that the three factors it must consider weigh in favor of denying the

 stay request. Potential prejudice to Ms. Edon exists if the Court grants the stay since she is trying

 to figure out what happened to the money she alleges was deposited with PNC for her benefit after

 the settlement when she was a minor. 1 [Dkt. 17.] And while the issues may be simplified by the




 1
    PNC disingenuously asserts that Ms. Edon "delayed in bringing a lawsuit and as such any
 relevant evidence is already nearly twenty (20) years old." [Dkt. 16 at 5 (emphasis added).] Ms.
 Edon was a minor when the automobile accident and subsequent settlement at issue occurred, and
 her Complaint alleges that she learned about these funds in August 2024. [Dkt. 1-2 at 2.] Ms.
                                                  4
Case 1:24-cv-02195-TWP-KMB              Document 25        Filed 05/23/25      Page 5 of 6 PageID #:
                                              166



 Court ruling on PNC's Motion to Dismiss, that factor alone does not necessitate a stay, especially

 because a ruling could take many months given the heavy caseload in this District. Finally, the

 Court concludes that a stay will not materially reduce the burden of litigation, particularly since

 PNC has already responded to discovery served by Ms. Edon. [See dkt. 17-1.]

        The Court disagrees with PNC's assertion that discovery stays in response to a motion to

 dismiss filed early in a case are granted "with substantial frequency" in the Seventh Circuit. [Dkt.

 16 at 3.] "There is no general policy of staying discovery when a motion to dismiss is filed, nor

 does the filing of a motion to dismiss trigger a presumption that discovery will be stayed." Metro

 Fibernet v. Clear Home, 2020 U.S. Dist. LEXIS 246815, at *2. (S.D. Ind. 2020). PNC cites a

 decision from a different district court observing that courts in our Circuit frequently grant stays

 "pursuant to Rule 26(c)[,]" In re Sulfuric Acid Antitrust Litig., 231 F.R.D. 331, 336 (N.D. Ill. 2005),

 but that case is distinguishable because the motion at issue was one to compel discovery, which

 the plaintiffs only brought at the end of discovery after voluntarily "acquiesc[ing] [to] what was

 functionally a stay" for the entire discovery period, id. at 337. Likewise, PNC's reliance on Eli

 Lily & Co. v. Arch Ins. Co. is misplaced because that case is also distinguishable. 2016 WL 344713

 (S.D. Ind. Jan. 28, 2016). In that case, the court acknowledged that it would typically not allow

 additional discovery to proceed where a motion for judgment on the pleadings was filed, but the

 case at bar was unique because it involved foreign law and the defendant's pursuit of discovery

 while simultaneously moving to bar discovery by the plaintiff. Id. at *4-6. Ultimately, the court

 in that case did allow additional discovery limited to the arguments raised in the motion for

 judgment on the pleadings. See id. at *7.




 Edon filed this lawsuit in November 2024. [Dkt. 1-2.] This timeline is anything but a delay, and
 the Court cautions counsel for PNC from making hyperbolic assertions in the future.
                                                   5
Case 1:24-cv-02195-TWP-KMB            Document 25       Filed 05/23/25      Page 6 of 6 PageID #:
                                            167



        Unlike the distinguishable cases that PNC cites, the Court will follow its standard approach

 and deny PNC's motion to stay discovery during the pendency of its motion to dismiss. See, e.g.,

 Dacian Master Fund, LP, v. Josh Wander, 2025 WL 1203106, at *2 (S.D. Ind. 2025) ("Filing a

 motion to dismiss does not automatically mean that there will be a discovery stay in federal court

 . . . ."). Because the Court finds that PNC has not met its burden as the requesting party to show

 good cause that a discovery stay is appropriate, its Motion to Stay Discovery is DENIED. [Dkt.

 16.]

                                     IV.     CONCLUSION

        For the reasons stated herein, PNC's Motion to Stay is DENIED. [Dkt. 16.] The Court's

 previously ordered deadlines set forth in the Case Management Plan remain in effect. [Dkt. 23.]

        SO ORDERED.


        Date: 5/23/2025




 Distribution:

 All ECF-registered counsel of record via email




                                                  6
